

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NOS. WR-66,323-01; 66,323-02; 66,323-03; 66,323-04






EX PARTE JEREMY HEATH NEEDUM, Applicant








ON APPLICATION FOR WRITS OF HABEAS CORPUS


CAUSE NOS. F-2004-0704-B; F-2004-0705-B; F-2004-0703-B; F-2004-0702-B 


				IN THE 158TH JUDICIAL DISTRICT COURT

FROM DENTON COUNTY






	Per curiam.


O R D E R



	Pursuant to the provisions of Article 11.07 of the Texas Code of Criminal Procedure, the
clerk of the trial court transmitted to this Court these applications for writ of habeas corpus.  Ex parte
Young, 418 S.W.2d 824, 826 (Tex. Crim. App. 1967).  Applicant was convicted of aggravated
assault, evading arrest and endangerment of a child and sentenced to thirty-two years', ten years',
and two years' imprisonment.  The Second Court of Appeals affirmed his convictions.  Needum v.
State, 184 S.W.3d 326 (Tex. App.-Ft. Worth 2006).  

	Applicant contends that his appellate counsel rendered ineffective assistance because
counsel's notice to Applicant that his convictions had been affirmed was incorrect as to the
applicable dates and therefore failed to properly advise him of his right to petition for discretionary
review pro se.

	Applicant has alleged facts that, if true, might entitle him to relief.  Strickland v. Washington,
466 U.S. 608 (1984); Ex parte Lemke, 13 S.W.3d 791,795-96 (Tex. Crim. App. 2000).  In these
circumstances, additional facts are needed.  Pursuant to Ex parte Rodriguez, 334 S.W.2d 294, 294
(Tex. Crim. App. 1997), the trial court is the appropriate forum for findings of fact.  The trial court
shall provide appellate counsel with the opportunity to respond to Applicant's claim of ineffective
assistance of counsel on appeal.  The trial court may use any means set out in Tex. Code Crim.
Proc. art. 11.07, § 3(d).  In the appropriate case, the trial court may rely on its personal recollection. 
Id.

	If the trial court elects to hold a hearing, it shall determine whether Applicant is indigent. If
Applicant is indigent and wishes to be represented by counsel, the trial court shall appoint an
attorney to represent Applicant at the hearing.  Tex. Code Crim. Proc. art. 26.04. 

	The trial court shall make findings of fact as to whether Applicant's appellate counsel timely
and effectively informed Applicant that his convictions had been affirmed and that he has a right to
file a pro se petition for discretionary review.  The trial court shall also make any other findings of
fact and conclusions of law that it deems relevant and appropriate to the disposition of Applicant's
claim for habeas corpus relief.

	This application will be held in abeyance until the trial court has resolved the fact issues.  The
issues shall be resolved within 90 days of this order.  If any continuances are granted, a copy of the
order granting the continuance shall be sent to this Court. A supplemental transcript containing all
affidavits and interrogatories or the transcription of the court reporter's notes from any hearing or
deposition, along with the trial court's supplemental findings of fact and conclusions of law, shall
be returned to this Court within 120 days of the date of this order.   Any extensions of time shall be
obtained from this Court. 


Filed: December 13, 2006

Do not publish


